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 1   Dieter C. Dammeier, SBN 188759
 2   Dieter@DammeierLaw.com
     DAMMEIER LAW FIRM
 3   8213 White Oak Avenue
 4   Rancho Cucamonga, CA 91730
     Telephone: (909) 240-9525
 5
     Facsimile: (909) 546-2685
 6
 7
     Attorneys for Plaintiff

 8
                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11
     JESUS SERANO,                                  Case No.: 5:19-cv-2179
12
                                                    COMPLAINT
13                       Plaintiff,
                                                    Federal FLSA Claim
14
           vs.
15                                                     1. Failure to Pay Minimum Wage
16   XEREX LANDSCAPING, INC.                              for All Hours Worked (29 U.S.C.
                                                          § 206(a));
17
                       Defendant.
18                                                  California Supplemental State Claims
19
                                                       2. Failure to Pay Minimum Wage
20                                                        for All Hours Worked (Cal.
21
                                                          Labor Code §§ 1194 & 1194.2);
                                                       3. Waiting Time Penalties (Cal.
22                                                        Labor Code § 203);
23
24
                                               I.
25
                                      JURISDICTION
26
           1.     This Court has subject matter jurisdiction over this action pursuant to
27
     28 U.S.C. § 1331, as the controversy arises under “the Constitution, laws or
28
     treatises of the United States.” Specifically, the claim rises under the Fair Labor

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 1   Standard Act of 1938, 29 U.S.C. §§ 201 et seq. (“FLSA”), for which the Federal
 2   Courts have jurisdiction to enforce pursuant to 29 U.S.C. § 216. The Court has
 3   supplemental jurisdiction over the related State law claims.
 4
 5                                                II.
 6                                          VENUE
 7         2.     Venue is proper in the Central District of California pursuant to 28
 8   U.S.C. §1391(b) because the acts, events, or omissions given rise to the claim
 9   occurred in this District.
10                                            III.
11                                        PARTIES
12         3.     Plaintiff JESUS SERANO is, and at all relevant times herein was, an
13   individual over the age of eighteen and resident of California and employed by
14   Defendant XEREX LANDSCAPING, INC.
15         4.     Plaintiff is informed and believes and thereon alleges that at all times
16   mentioned herein, Defendant is engaged in business in California, particularly
17   within the Central District of California.
18         5.     Defendant, XEREX LANDSCAPING, INC. is a California
19   Corporation with its principal office in Nipomo, California and was at all relevant
20   times, the employer of Plaintiff. Defendant is an employer whose employees are
21   engaged in commerce within the meaning of 29 U.S.C. §207(a) and as defined in
22   29 U.S.C. §§203(d) and 203(e)(2)(c).
23                                                V
24                                GENERAL ALLEGATIONS
25         6.     Plaintiff was employed by Defendant from September 4, 2019 through
26   October 10, 2019 when he was terminated (“laid off”).
27         7.     On Plaintiff’s final day, October 10, 2019, he was provided two pay
28   checks from Defendant as follows:

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 1                $720.49 for the pay period September 15 to September 30, 2019.
 2                $288.94 for October 1 to October 10, 2019
 3         8.     When Plaintiff went to cash the checks he was informed the checks
 4   “were dishonored by the bank and returned.”
 5         9.     Plaintiff called who he believes to be the owner of the business, Justin
 6   Marsh, and informed him that the Defendant wrote him bad checks. Marsh
 7   indicated he would “look into it” or other words to that effect.
 8         10.    As of the filing of this case, the checks did not clear the bank and
 9   Defendant has not paid for Plaintiff’s wages for the period of September 15
10   through October 10, 2019.
11         11.    Said failure in not paying wages when due and owing was willful and
12   intentional for purposes of liquidated damages under the FLSA and waiting time
13   penalties under California Labor Code § 203.
14
15                                      COUNT ONE
16                                  FEDERAL CLAIM
                          Violation of the Fair Labor Standards Act
17                                   29 U.S.C. §§ 206(a)
18               Failure to Pay Minimum Wages and For All Hours Worked
19         12.    Plaintiff re-alleges and incorporates the allegations of each preceding
20   paragraph as if fully stated herein.
21         13.    At all relevant times herein, Plaintiff’s employment was subject to the
22   provisions of the Fair Labor Standards Act of 1938, as amended (“FLSA”), 29
23   U.S.C. § 201, et seq.
24         14.    Defendant operates a business enterprise engaged in commerce or in
25   the production of goods for commerce as defined by 29 U.S.C. § 203 (r) & (s) and
26   related Department of Labor regulations.
27         15.    In failing to pay Plaintiff all overtime wages at one-and-one-half times
28   his regular rate of pay, Defendant willfully violated the FLSA.

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 1         16.     Defendant intentionally, with reckless disregard for its responsibilities
 2   under the FLSA, and without good cause, failed to pay Plaintiff his proper wages.
 3   Defendant is thus liable to Plaintiff for liquidated damages in an amount equal to
 4   his lost wages over a three-year statute of limitations, pursuant to 29 U.S.C. §§
 5   216(b) and 255(a).
 6         17.     Plaintiff was required to retain legal assistance in order to bring this
 7   action and, as such, is entitled to an award of reasonable attorney’s fees pursuant to
 8   the FLSA.
 9
10                                      COUNT TWO
11                          SUPPLEMENTAL STATE CLAIM
                    Violation of California Labor Code §§ 1194 & 1194.2
12                    Failure to Pay Wages and For All Hours Worked
13         18.     Plaintiff re-alleges and incorporates the allegations of each preceding
14   paragraph as if fully stated herein.
15         19.     At all times mentioned herein, Defendant was subject to the minimum
16   wage laws of the State of California pursuant to California Labor Code § 1194,
17   regarding work undertaken for Defendant. Pursuant to California Labor Code §
18   1194, Defendant had a duty to pay their employees, including Plaintiff, no less
19   than minimum wage for all hours worked. Under California Labor Code § 1194,
20   Plaintiff is entitled to be paid unpaid wages and has standing to sue for such
21   violations.
22         20.     Defendant intentionally, with reckless disregard for its responsibilities
23   under the California Labor Code, and without good cause, failed to pay Plaintiff
24   his proper wages. Defendant is thus liable to Plaintiff for liquidated damages in an
25   amount equal to his unpaid wages, pursuant to California Labor Code § 1194.2.
26         21.     Plaintiff has incurred, and will continue to incur, attorneys’ fees in the
27   prosecution of this action and therefore demands such reasonable attorneys’ fees
28   and costs as set by the court pursuant to California Labor Code § 1194.

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 1                                     COUNT THREE
 2                          SUPPLEMENTAL STATE CLAIM
                       Violation of California Labor Code §§ 201 & 203
 3                         Unpaid Wage and Waiting Time Penalties
 4           22.   Plaintiff re-alleges and incorporates the allegations of each preceding
 5   paragraph as if fully stated herein.
 6           23.   California Labor Code § 201(a) requires an employer who discharges
 7   an employee to pay the employee immediately upon discharge for wages due.
 8           24.   California Labor Code § 202(a) requires an employer to pay
 9   compensation due and owing to an employee who has quit or resigned within
10   seventy-two (72) hours of that the time at which the employee provided notice of
11   his intention to quit or resign.
12           25.   California Labor Code § 203 provides that if an employer willfully
13   fails to pay compensation promptly upon discharge or resignation, as required
14   under California Labor Code §§ 201 and 202, then the employer is liable for
15   waiting time penalties in the form of continued compensation for up to thirty (30)
16   days.
17           26.   Plaintiff has left the employ Defendant, but has not yet been fully
18   compensated for the hours that he worked.
19           27.   Defendant has willfully failed and refused to make timely payment of
20   wages to Plaintiff.
21           28.   As a direct and proximate result of Defendant’s alleged conduct,
22   Defendant is liable to Plaintiff for up to thirty (30) days of waiting time penalties
23   pursuant to California Labor Code § 203.
24           29.   As a direct and proximate result of Defendant’s conduct, Plaintiff is
25   also entitled to attorney’s fees under California Labor Code §§ 218.5 and 1194, in
26   addition to interest, expenses and costs of suit.
27
28


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 1                                              V.
 2                                PRAYER FOR RELIEF
 3         1.     For an order awarding Plaintiff compensatory damages for all wages
 4   earned but not paid, in the amount of $1,008.89 reflecting his net pay for the two
 5   bad checks written by Defendant;
 6         2.     For liquidated damages per the FLSA in a sum equal to the unpaid
 7   wages amount of the unpaid compensation due and owing;
 8         3.     For liquidated damages pursuant to California Labor Code § 1194.2.
 9   in a sum equal to the unpaid wages amount of the unpaid compensation due and
10   owing;
11         4.     For pre-judgment interest of 10% on the unpaid compensation under
12   California Labor Code §§ 1194(a);
13         5.     For “waiting time” penalties under California Labor Code § 203 (30
14   days at $14 per hour for 8 hours a day) totaling $3,360;
15         6.     For an award of reasonable attorneys’ fees, as provided by 29 U.S.C.
16   § 216(b) of the FLSA and California Labor Code §§ 218.5 and 1194, and/or other
17   applicable law;
18         7.     For costs of suit herein;
19         8.     For such other and further relief as the Court may deem appropriate.
20
21                                            Respectfully submitted,
22
23   Date: November 12, 2019                  DAMMEIER LAW FIRM
24
25                                            __/s/ Dieter C Dammeier_______
26                                            Dieter C. Dammeier
                                              Attorneys for Plaintiffs
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